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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION


BENNDRICK CHARLES WATSON,

        Plaintiff,

v.                                                 Case No. 8:20-cv-1283-T-210CPT

WELLS FARGO BANK, N.A.,

     Defendant.
____________________________________/

                                        ORDER

        This order follows the Court’s examination of this action. Under Title 28, United

States Code, Section 455, and Canon 3(C) of the Code of Conduct for United States

Judges, I will recuse myself from this case because I have a financial interest in the

Defendant corporation. Accordingly, the Clerk is directed to reassign by random draw

this case to another District Judge.

        ORDERED in Tampa, Florida, on January 12, 2021.
